                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

TODD E. NELSON,                              §
                                             §
                 Plaintiff,                  §
                                             §   CASE NO.
v.                                           §
                                             §
WERNER ENTERPRISES, INC., and                §
DOUGLAS BOMBERGER,                           §   JURY TRIAL DEMANDED
                                             §
                Defendants.                  §


                                          COMPLAINT


        COMES NOW Todd E. Nelson (hereinafter “Mr. Nelson” or “Plaintiff”), and files his

 complaint, and shows unto the Court as follows:

                                            PARTIES

       1. Mr. Nelson is a resident and citizen of the State of Florida.

       2. Defendant, Werner Enterprises, Inc. (hereinafter “Werner Enterprises”) is a motor

carrier with its principal place of business located at 14507 Frontier Road, Omaha, Nebraska,

68138, and was transacting business in the State of Tennessee on the date at issue.

       3. Defendant Werner Enterprises can be served, according to the Federal Motor Carrier

Safety Administration, with a copy of the complaint and summons through its BOC-3 agent, Sharon

Lees Fuel Tax Service, 1726 Carroll Road, Morristown, Tennessee 37813.

       4. Defendant Werner Enterprises is a motor carrier registered with U.S. Department of

Transportation under DOT number 53467 and Motor Carrier (“MC”) number 138328.




 Case 3:22-cv-00350-KAC-JEM Document 1 Filed 10/04/22 Page 1 of 15 PageID #: 1
       5. Upon information and belief, Defendant Douglas Bomberger is a citizen of the State of

Pennsylvania and can be served with a copy of the complaint and summons at 8 Crossan Court,

Landenberg, Pennsylvania 19350.

                                    JURISDICTION & VENUE

       6. Jurisdiction is proper to this Court pursuant to 28 U.S.C. § 1332 as there is complete

diversity amongst the parties and the value in controversy exceeds $75,000, exclusive of interests

and costs.

       7. Venue is proper with this Court pursuant to 28 U.S.C. § 1391(b)(2) because a substantial

part of the events giving rise to the claim occurred within the judicial district.

                       RELATIONSHIP & DUTIES OF THE PARTIES

       8. Defendant Werner Enterprises is an interstate motor carrier based out of Nebraska.

       9. The provisions of 49 CFR §§ 301-399, commonly referred to as the “Federal Motor

Carrier Safety Regulations” or “FMCSR” are applicable to this case and both Defendant Werner

Enterprises and Defendant Douglas Bomberger were subject to and required to obey these

regulations at the time of the wreck and at all relevant times prior to the wreck.

       10. Defendant Werner Enterprises is the owner of the tractor operated by Defendant

Douglas Bomberger at the time of the wreck.

       11. The tractor-trailer had a gross vehicle weight rating (GVWR) of 26,001 or more pounds,

making it a commercial motor vehicle.

       12. At the time of the wreck, Defendant Douglas Bomberger was an employee and/or agent

of Defendant Werner Enterprises.




                                                    2

Case 3:22-cv-00350-KAC-JEM Document 1 Filed 10/04/22 Page 2 of 15 PageID #: 2
       13. At all times relevant hereto, Defendant Douglas Bomberger was a truck driver for

Defendant Werner Enterprises and was acting within the scope and course of the business of

Defendant Werner Enterprises.

       14. At all times relevant hereto, Defendant Werner Enterprises was acting by and through

its employees/agents and is responsible for the acts of those employees and agents pursuant to

respondeat superior, agency, negligent entrustment, negligent hiring of an independent contractor,

or similar theory of law.

       15. At all times relevant hereto, Defendants were acting in a joint enterprise.

       16. Defendant Werner Enterprises was a for-hire motor carrier transporting property in

interstate commerce on the day of the wreck.

       17. Defendant Werner Enterprises had a duty to maintain the tractor-trailer to ensure the

safety of citizens on the roads, interstates and highways.

       18. Defendant Werner Enterprises had a duty to properly hire qualified tractor-trailer drivers

to ensure the safety of citizens on the roads, interstates and highways.

       19. Defendant Werner Enterprises had a duty to properly train its tractor-trailer drivers to

ensure the safety of citizens on the roads, interstates and highways.

       20. Defendant Douglas Bomberger had a duty to inspect the tractor-trailer before driving it

to ensure the safety of citizens on the roads, interstates and highways.

       21. Defendant Douglas Bomberger had a duty to give full attention to the traffic and vehicles

around him to ensure the safety of citizens on the roads, interstates and highways.

       22. Defendant Douglas Bomberger had a duty to operate the tractor-trailer with the same

care as other similarly situated tractor-trailer drivers to ensure the safety of citizens on the roads,

interstates and highways.



                                                   3

Case 3:22-cv-00350-KAC-JEM Document 1 Filed 10/04/22 Page 3 of 15 PageID #: 3
                                     STATEMENT OF FACTS

        23. All preceding statements of the complaint are incorporated herein and realleged as if

expressly set forth herein.

        24. On October 7, 2021 at approximately 3:16 a.m. Defendant Douglas Bomberger was

operating a tractor-trailer owned by Defendant Werner Enterprises in Dandridge, Jefferson County,

Tennessee.

        25. Defendant Douglas Bomberger was transporting property in interstate commerce for

Defendant Werner Enterprises.

        26. Defendant Douglas Bomberger was parked at the Pilot Travel Center.

        27. Defendant Douglas Bomberger conducted the pre-trip inspection of the tractor-trailer

and observed one or more tractor-trailers that were parked adjacent to his tractor-trailer.

        28. As he departed his parking spot, Defendant Douglas Bomberger failed to ensure there

was a safe distance around his tractor-trailer.

        29. As he drove away from his parking spot, Defendant Douglas Bomberger collided with,

and sideswiped, the right side of a tractor-trailer occupied by Mr. Nelson, who was asleep in the

sleeper birth.

        30. The wreck threw the asleep and unsuspecting Mr. Nelson out of the sleeper birth where

he impacted the interior of his tractor cab.

        31. The collision caused disabling damage to the tractor-trailer occupied by Mr. Nelson.

        32. According to the Crash Report authored by a police officer with the Dandridge,

Tennessee Police Department, the tractor-trailer occupied by Mr. Nelson “sustained heavy damage

to the right side of the truck and was disabled.”




                                                    4

Case 3:22-cv-00350-KAC-JEM Document 1 Filed 10/04/22 Page 4 of 15 PageID #: 4
       33. The collision also caused damage to the Werner tractor-trailer operated by Werner’s

driver, Defendant Bomberger.

       34. Werner’s driver sensed and detected the collision.

       35. Werner’s driver was aware he collided with another vehicle.

       36. The collision was caused by the actions and inactions of the Werner

       37. Werner’s driver failed to immediately stop his tractor-trailer and remain at the scene of

the collision as required by law.

       38. Werner’s driver failed to check on Mr. Nelson.

       39. Werner’s driver failed to contact the police to report the collision.

       40. Instead, 34. Werner’s driver intentionally fled the scene, which is indicative of one or

more of the following:

       •   Werner’s driver Bomberger was intoxicated or in possession of alcohol or controlled

           substances;

       •   Werner’s driver was not qualified to operate the tractor-trailer;

       •   Werner’s driver had exceeded his maximum hours-of-service (“HOS”); and/or

       •   The tractor-trailer operated by Werner’s driver had one or more maintenance-related

           issues that would have resulted in the tractor-trailer being placed out-of-service

           (“OOS”).

       41. Werner’s driver failed to give full attention to the parking area, endangering the safety

of Mr. Nelson and other motorists.

       42. Werner’s driver failed to exercise the due care a licensed commercial motor vehicle

driver would use in the operation of the tractor-trailer.




                                                   5

Case 3:22-cv-00350-KAC-JEM Document 1 Filed 10/04/22 Page 5 of 15 PageID #: 5
        43. Werner’s driver operated the tractor-trailer in a negligent, careless, reckless, and

dangerous manner.

        44. Even after feeling the impact and subsequently observing the damage to the tractor-

trailer he was operating, Werner’s driver failed to contact the police to report his involvement in

the collision.

        45. Even after learning of the damage to its tractor-trailer, or Defendant Douglas

Bomberger’s involvement in a collision, Defendant Werner Enterprises failed to contact the police

to report that its’ truck and driver were involved in a collision.

        46. As a result of Werner’s driver’s fleeing the scene, the police were not able to interview

him the morning of the collision and determine whether he was fit and qualified to operate a

commercial motor vehicle.

        47. As a result of Werner’s driver’s fleeing the scene, the police were not able to inspect the

tractor-trailer to determine whether it was in safe operating condition.

        48. Mr. Nelson is a member of the public.

        49. No act of Mr. Nelson was a cause of the wreck.

        50. No failure to act by Mr. Nelson was a cause of the wreck.

        51. Mr. Nelson bears zero percent (0%) fault for the wreck.

        52. Mr. Nelson was seriously injured as a result of the wreck.

                                     COUNT I
                       NEGLIGENCE OF WERNER ENTERPRISES
                    NEGLIGENT HIRING, TRAINING, ENTRUSTMENT,
                    SUPERVISION, RETENTION, AND MAINTENANCE

        53. All preceding statements and allegations of the complaint are incorporated and realleged

as if expressly set forth herein.




                                                   6

Case 3:22-cv-00350-KAC-JEM Document 1 Filed 10/04/22 Page 6 of 15 PageID #: 6
       54. Regardless of the employment relationship, Defendant Werner Enterprises is the

registered owner of DOT number 53467 and MC number 138328, displayed on the tractor involved

in this wreck and is therefore responsible for the acts of the driver of that commercial motor vehicle.

       55. At all times relevant to this cause of action, Defendants Werner Enterprises and Douglas

Bomberger were subject to and required to obey the minimum safety standards established by the

Federal Motor Carrier Safety Regulations (“FMCSR”) (49 CFR §§ 301-399), either directly or as

adopted by the Tennessee Department of Transportation Safety Rules & Regulations 1340-6-1-.08

and pursuant to T.C.A. §§ 65-15-101, 65-15-102 and 65-15-111.

       56. The FMCSR was enacted to prevent crashes involving members of the public, such as

Mr. Nelson.

       57. The Defendants will be shown at trial to have violated the Federal Motor Carrier Safety

Regulations which constitutes negligence per se, including but not limited to:

                a. Part 383     Commercial Driver’s License Standards

                b. Part 390     General

                c. Part 391     Qualifications of Drivers

                d. Part 392     Driving of Commercial Motor Vehicles

                e. Part 393     Parts and Accessories Necessary for Safe Operation

                f. Part 395     Hours of Service

                g. Part 396     Inspections, Repairs, and Maintenance

       58. Defendant Werner Enterprises was required to teach and train Defendant Douglas

Bomberger to understand and obey the rules and regulations contained in the FMCSR.

       59. Defendant Werner Enterprises was negligent, and grossly negligent, in:

                a. failing to properly maintain the tractor-trailer involved in the collision;



                                                   7

Case 3:22-cv-00350-KAC-JEM Document 1 Filed 10/04/22 Page 7 of 15 PageID #: 7
                b. failing to properly inspect the tractor-trailer involved in the collision;

                c. hiring and/or contracting with Defendant Douglas Bomberger to drive the
                tractor-trailer at issue;

                d. failing to train Defendant Douglas Bomberger on the provisions of the FMCSR
                and Commercial Driver’s Manual;

                e. failing to train Defendant Douglas Bomberger to properly drive the tractor-
                trailer;

                f. failing to train Defendant Douglas Bomberger to properly inspect the tractor-
                trailer;

                g. failing to train Defendant Douglas Bomberger to properly maintain the tractor-
                trailer;

                h. entrusting Defendant Douglas Bomberger with the tractor-trailer;

                i. failing to supervise Defendant Douglas Bomberger while driving the tractor-
                trailer;

                j. retaining Defendant Douglas Bomberger to drive the tractor-trailer;

                k. failing to conduct proper and required checks on the background of their
                employee, agent and/or contractor, Defendant Douglas Bomberger; and

                l. failing to exercise ordinary care to determine their employees’ agents’ and/or
                contractors’ fitness for the task of driving a commercial vehicle interstate.

       60. Defendant Werner Enterprises had a duty to promulgate and enforce rules and

regulations to ensure its drivers and vehicles were reasonably safe and negligently failed to do so.

       61. Defendant Werner Enterprises, through its agents and employees, knew, had reason to

know, or should have known by exercising reasonable care, about the risks set forth in this

Complaint and that by simply exercising reasonable care these risks would be reduced or

eliminated. These risks include, but are not limited to:

                a. the risks associated with failing to properly maintain its tractor-trailer;

                b. the risk associated with failing to properly inspect its tractor-trailer;



                                                   8

Case 3:22-cv-00350-KAC-JEM Document 1 Filed 10/04/22 Page 8 of 15 PageID #: 8
                c. the risks associated with failing to properly repair its tractor-trailer;

                d. the risks associated with unsafe and unqualified drivers;

                e. the risks associated with failing to train drivers to obey the FMCSR;

                f. the risks associated with failing to train drivers to follow minimum driving
                standards for commercial drivers;

                g. the risks associated with failing to train drivers to follow minimum inspection
                standards for commercial drivers;

                h. the risks associated with failing to train drivers to follow minimum maintenance
                standards for commercial drivers;

                i. failing to ensure its routes could be driven within hours-of-service;

                j. requiring drivers to meet unrealistic driving goals which Defendant Werner
                Enterprises knew, had reason to know, or should have known would cause its
                drivers to violate the hours-of-service regulations;

                k. failing to have policies and procedures in place to identify undertrained and
                unqualified drivers;

                l. failure to appropriately implement and enforce risk management policies and
                procedures to monitor and assess Defendant Douglas Bomberger once he was hired;
                and

                m. failing to use the composite knowledge reasonably available to Defendant
                Werner Enterprises to analyze the data available to it to identify the risk, take steps
                to reduce or eliminate the risk, and to protect members of the public from that risk.

        62. The negligence of Werner Enterprises was a proximate cause of the injuries sustained

by Plaintiff.

        63. As a result of Defendant Werner Enterprises’ actions and inactions, the Plaintiff suffered

serious injuries affecting his activities of normal daily living.

        64. The negligence, and gross negligence, of Defendant Werner Enterprises individually, or

combined and concurring with the negligence of Defendant Douglas Bomberger, was a legal and




                                                    9

Case 3:22-cv-00350-KAC-JEM Document 1 Filed 10/04/22 Page 9 of 15 PageID #: 9
 proximate cause of the damages to the Plaintiff, for which he is entitled to receive restitution for

 past, present and future economic and non-economic damages to the extent allowed by law.

         65. The injuries suffered by the Plaintiff are the type that are foreseeable consequences of a

 negligent act.

                                      COUNT II
                          NEGLIGENCE OF DOUGLAS BOMBERGER

         66. All preceding statements and allegations of the complaint are incorporated herein and

 realleged as if expressly set forth herein.

         67. At the time of the wreck, Defendant Douglas Bomberger failed to exercise due care by

 failing to drive the tractor-trailer at a safe speed, failing to maintain a safe lookout, failing to keep

 the tractor-trailer under proper control, failing to devote full time and attention to operating the

 tractor-trailer, and operating the tractor-trailer in such a manner that resulted in a collision with Mr.

 Nelson.

         68. The tractor-trailer driven by Defendant Douglas Bomberger was driven with the

 permission, and at the direction of, Defendant Werner Enterprises.

         69. Upon information and belief, the tractor-trailer driven by Defendant Douglas

 Bomberger was driven in the course and scope of his employment with the business of Defendant

 Werner Enterprises.

         70. Regardless of the employment relationship, Defendant Werner Enterprises is the

 registered owner of DOT number 53467 and MC number 138328 displayed on the tractor involved

 in this wreck and is therefore responsible for the acts of the driver of that vehicle.

         71. At the time and place of this wreck, Defendant Douglas Bomberger was generally

 negligent under the circumstances then and there existing in that he:

                  a. failed to keep a proper lookout;

                                                    10

Case 3:22-cv-00350-KAC-JEM Document 1 Filed 10/04/22 Page 10 of 15 PageID #: 10
                  b. failed to keep his vehicle under control;

                  c. failed to maintain a safe distance around his vehicle;

                  d. failed to ensure that he could safely depart and navigate the parking area;

                  e. failed to operate the tractor-trailer at a safe and prudent speed in view of the
                     conditions which existed in the parking area at the time of the wreck;

                  f. failed to operate his vehicle in a safe and prudent manner in view of the
                     conditions which existed in the parking area at the time of the wreck;

                  g. drove in a careless manner;

                  h. drove in a reckless manner;

                  i. failed to operate his vehicle in a manner considerate of the safety and lives of
                     other persons lawfully in the parking area or on the roadway;

                  j. failed to inspect his vehicle in a manner considerate of the safety and lives of
                     the others persons lawfully in the parking area or on the roadway; and

                  k. such other actions or inactions that may be shown at a hearing of this cause.

         72. Defendant Douglas Bomberger’s negligence was a direct and proximate cause of the

 collision with the Plaintiff.

         73. Defendant Douglas Bomberger’s negligence was a direct and proximate cause of the

 injuries suffered by the Plaintiff.

         74. As a result of Defendant Douglas Bomberger’s actions and inactions, the Plaintiff

 suffered serious injuries affecting his activities of normal daily living.

         75. The negligence, and gross negligence, of Defendant Douglas Bomberger individually,

 or combined and concurring with the negligence of Defendant Werner Enterprises, was a legal and

 proximate cause of the damages to the Plaintiff, for which he is entitled to receive restitution for

 past, present and future economic and non-economic damages to the extent allowed by law.




                                                    11

Case 3:22-cv-00350-KAC-JEM Document 1 Filed 10/04/22 Page 11 of 15 PageID #: 11
        76. The injuries suffered by the Plaintiff are the type that are foreseeable consequences of a

 negligent act.

                                         COUNT III
                                     NEGLIGENCE PER SE

        77. All preceding statements of the complaint are incorporated herein and realleged as if

 expressly set forth herein.

        78. At the time and place of this wreck, Defendant Douglas Bomberger was negligent per

 se in that he violated one or more of the statutes of the State of Tennessee to include, but not be

 limited to:

                   a. T.C.A. § 55-8-103        Required Obedience to Traffic Laws;

                   b. T.C.A. § 55-8-136(b)     Failure to Exercise Due Care;

                   c. T.C.A. § 55-10-101       Leaving Scene of Accident (Injury);

                   d. T.C.A. § 55-10-102       Leaving Scene of Accident (Property);

                   e. T.C.A. § 55-10-103       Fail to Give Information / Render Aid;

                   f. T.C.A. § 55-10-106       Fail to Give Notice of Accident;

                   g. T.C.A. § 55-10-107       Fail to Make Written Report of Accident; and

                   h. T.C.A. § 55-10-205       Reckless Driving.

        79. Defendant Douglas Bomberger was subject to the “Federal Motor Carrier Safety

 Regulations” 49 CFR §§ 301-399 either directly, or as adopted by the Tennessee Department of

 Transportation Safety Rules & Regulations 1340-6-1-.08 and pursuant to T.C.A. §§ 65-15-101, 65-

 15-102 and 65-15-111, at the time and date of the wreck.

        80. Defendant Douglas Bomberger will be shown at trial to have violated one or more of

 the Federal Motor Carrier Safety Regulations which constitutes negligence per se, including but

 not limited to:

                                                  12

Case 3:22-cv-00350-KAC-JEM Document 1 Filed 10/04/22 Page 12 of 15 PageID #: 12
                  a. Part 383    Commercial Driver’s License Standards

                  b. Part 390    General

                  c. Part 391    Qualifications of Drivers

                  d. Part 392    Driving of Commercial Motor Vehicles

                  e. Part 393    Parts and Accessories Necessary for Safe Operation

                  f. Part 395    Hours of Service

                  g. Part 396    Inspections, Repairs, and Maintenance

        81. The negligence, and gross negligence, of Defendant Douglas Bomberger individually,

 or combined and concurring with the negligence of Defendant Werner Enterprises, was a legal and

 proximate cause of the damages to the Plaintiff, for which he is entitled to receive restitution for

 past, present and future economic and non-economic damages to the extent allowed by law.

        82. The injuries suffered by the Plaintiff are the type that are foreseeable consequences of a

 negligent act.

                                           COUNT IV
                                      RESPONDEAT SUPERIOR

        83. All preceding statements and allegations of the complaint are incorporated herein and

 realleged as if expressly set forth herein.

        84. At all times relevant hereto, Defendant Werner Enterprises was acting by and through

 its employees/agents, among them Defendant Douglas Bomberger, and are responsible for the acts

 of those employees and agents pursuant to respondeat superior, agency, or similar theory of law.

                                               COUNT V
                                               DAMAGES

         85. All preceding statements and allegations of the complaint are incorporated herein and

 realleged as if expressly set forth herein.



                                                    13

Case 3:22-cv-00350-KAC-JEM Document 1 Filed 10/04/22 Page 13 of 15 PageID #: 13
         86. As a direct and proximate result of the Defendants’ negligence, the Plaintiff was made

 to suffer economic and non-economic damages of a type for which the law allows him to seek

 restitution from Defendants.

         87. The damages suffered by the Plaintiff fall within the foreseeable range of harms that

 result from Defendants’ negligence.

         88. As set forth more fully in the facts hereinabove, each of the Defendants acted in a willful,

 wanton and reckless manner which either alone, or combined and concurring with the actions of

 the other Defendants’ acts of negligence, directly and proximately caused the collision and

 Plaintiff’s injuries.

         89. Defendants knowingly, intentionally, recklessly, and/or willfully disregarded the

 Federal Motor Carrier Safety Regulations and fled the scene.

         90. Defendants’ conduct constituted a conscious disregard for the life and safety of the

 Plaintiff, and for the lives and safety of the motoring public generally, and these Defendants are

 therefore liable for exemplary or punitive damages.

         WHEREFORE, Plaintiffs pray that the following relief be granted:

          a. A trial by jury;

          b. For Summons and Complaint to issue against Defendants;

          c. For judgment against the Defendants, to compensate Plaintiff for his past, present, and

              future economic and non-economic damages;

          d. For judgment against the Defendants in an amount the jury believes to be just, fair and

              equitable, given the facts and after hearing the issues in this case, as restitution for

              Plaintiff’s past, present, and future economic and non-economic damages;

          e. For an award of punitive damages against the Defendants in an amount the jury believes



                                                    14

Case 3:22-cv-00350-KAC-JEM Document 1 Filed 10/04/22 Page 14 of 15 PageID #: 14
          to be just, fair and equitable, given the facts and after hearing the issues in this case;

       f. For Court costs and discretionary costs; and

       g. For all such further and general relief which this Court deems just and proper.



                                              Respectfully submitted,

                                              TRUCK WRECK JUSTICE, PLLC


                                              BY: _/s/ Morgan G. Adams_________________
                                                    MORGAN G. ADAMS, BPR # 013693
                                                    DANNY R. ELLIS, BPR #020747
                                                    TRUCK WRECK JUSTICE, PLLC
                                                    1419 Market Street
                                                    Chattanooga, Tennessee 37402
                                                    Telephone:    (423) 265-2020
                                                    Facsimile:    (423) 265-2025

                                                      Attorneys for Plaintiff




                                                15

Case 3:22-cv-00350-KAC-JEM Document 1 Filed 10/04/22 Page 15 of 15 PageID #: 15
